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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                 CRIMINAL 12-0036CCC
 1) OSCAR SANCHEZ-MARTINEZ
 2) ESTEVAN HERNANDEZ-CLAUDIO
 3) CHARLES PIZARRO-GARCIA
 4) OSCAR VALDES-GARCIA
 5) ANTHONY GONZALEZ-VEGA
 6) EMANUEL RODRIGUEZ-ISAAC
 7) WILMER NIEVES-CORREA
 Defendants


                                         ORDER

       Having considered the Report and Recommendation filed on June 28, 2012 (docket
entry 242) on a Rule 11 proceeding of defendant Wilmer Nieves-Correa (7) held before
U.S. Magistrate Judge Marcos E. López on June 25, 2013, to which no objection has been
filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is accepted. The
Court FINDS that his plea was voluntary and intelligently entered with awareness of his
rights and the consequences of pleading guilty and contains all elements of the offense
charged in the indictment. However, the Court will defer its decision on whether to accept
the parties’ Fed. R. Crim. P. 11(3)(1)(C) Plea Agreement until it reviews the Presentence
Report, pursuant to Fed. R. Crim. P. 11(c)(3)(A).
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since June 25, 2013. The sentencing hearing is set for October 1,
2013 at 4:15 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on July 16, 2013.



                                                S/CARMEN CONSUELO CEREZO
                                                United States District Judge
